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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 BUREAU OF CONSUMER FINANCIAL
 PROTECTION,

                                 Petitioner,
                                                                20-CV-03240 (KMK)
                          v.
                                                                      ORDER
 LAW OFFICES OF CRYSTAL MORONEY,
 P.C.,

                                 Respondent.


KENNETH M. KARAS, United States District Judge:

         For the reasons stated on the record at the Oral Argument on December 16, 2020, the

Court denies Respondent’s Motion To Stay and the Clerk of the Court is respectfully directed to

terminate the pending Motion. (Dkt. No. 34).

         SO ORDERED.

Dated:     December 30, 2020
           White Plains, New York

                                                          KENNETH M. KARAS
                                                         United States District Judge
